223 F.3d 440 (7th Cir. 2000)
    Donald J. Sierakowski, Plaintiff-Appellant,v.James E. Ryan, Attorney General of the State of  Illinois, in his official capacity, and John R.  Lumpkin, Director of the Illinois Department  of Public Health, in his official capacity, Defendants-Appellees.
    No. 99-2705
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued April 3, 2000Decided August 3, 2000
    
      Appeal from the United States District Court  for the Northern District of Illinois, Eastern Division.  No. 98 C 7088--James F. Holderman, Judge.
      Before Flaum, Chief Judge, Bauer and Williams,  Circuit Judges.
      Flaum, Chief Judge.
    
    
      1
      Plaintiff Donald J.  Sierakowski was tested for HIV without his  knowledge and consent. Pursuant to 42 U.S.C. sec.  1983 and 28 U.S.C. sec. 2201, Sierakowski sought  a declaration that the provision of the Illinois  AIDS Confidentiality Act codified as 410 ILCS  205/8(b)--which under certain circumstances  grants Illinois physicians discretion to test  patients for HIV without their knowledge or  consent--is invalid because it violates rights  secured by the Fourth and Fourteenth Amendments  to the United States Constitution. Sierakowski  further sought an injunction prohibiting  defendant John R. Lumpkin, Director of the  Illinois Department of Public Health, and his  agents from enforcing or otherwise effectuating  the state law provision.1 The district court  dismissed the suit, and then denied Sierakowski's  Rule 59(e) motion to amend the judgment, on  Eleventh Amendment and standing grounds. We  affirm the judgment of the district court.
    
    Background
    
      2
      The Illinois AIDS Confidentiality Act provides  that "[n]o person may order an HIV test without  first receiving the written informed consent of  the subject of the test or the subject's legally  authorized representative." 410 ILCS 305/4.  Section 8 of the Act, however, states in relevant  part
    
    
      3
      Notwithstanding the provisions of Sections 4 and  5 of this Act, written informed consent,  information and counseling are not required for  the performance of an HIV test . . . (b) when in  the judgment of the physician, such testing is  medically indicated to provide appropriate  diagnosis and treatment to the subject of the  test, provided that the subject of the test has  otherwise provided his or her consent to such  physician for medical treatment.
    
    
      4
      410 ILCS 305/8.
    
    
      5
      This Illinois Aids Confidentiality Act also  generally forbids disclosure of "the identity of  any person upon whom a test is performed, or the  results of such a test in a manner which permits  identification of the subject of the test," 410  ILCS 305/9, but allows such disclosure to a list  of enumerated persons, including the Department  of Public Health, in accordance with reporting  rules. 410 ILCS 305/9(d). The Illinois Sexually  Transmissible Disease Control Act requires that  laboratories performing HIV tests report any  positive results to the Illinois Department of  Public Health within two weeks of the test. 410  ILCS 325/4; 77 Ill. Adm. Code. sec. 693.20(a)(1)-  (2).
    
    
      6
      Sierakowski suffers from a seizure disorder, and  the medication prescribed to control the disorder  can affect liver function. Sierakowski must  therefore visit a physician every three months  for testing to ensure that his liver is  functioning properly and to monitor levels of  seizure medication present in his blood.
    
    
      7
      In November 1996, Sierakowski made an office  visit to his regular physician, Dr. Coleman  Seskind. Sierakowski did not previously nor at  that time provide Dr. Seskind or any other person  with his consent, written or otherwise, to  perform an HIV test. Dr. Seskind had Sierakowski  admitted to a hospital for treatment, where,  according to Sierakowski, he was asked by  hospital personnel whether he would consent to an  HIV test and he refused. During Sierakowski's  next visit to Dr. Seskind the following week, Dr.  Seskind disclosed that Sierakowski had been  tested for HIV and that the test result was  negative.
    
    
      8
      On November 5, 1998, Sierakowski filed a  complaint against defendant Lumpkin, as Director  of the Illinois Department of Public Health,  alleging that the continued enforcement and  effectuation of section 8(b) of the Illinois AIDS  Confidentiality Act violates his constitutional  rights under the Fourth and Fourteenth  Amendments. Invoking 42 U.S.C. sec. 1983 and 28  U.S.C. sec. 2201, Sierakowski sought a  declaratory judgment that section 8(b) is  unconstitutional and injunctive relief  prohibiting the Director and his agents from  enforcing or effectuating section 8(b).
    
    
      9
      Lumpkin moved to dismiss on the grounds that  the Eleventh Amendment barred the action against  him because he was not sufficiently involved in  the enforcement and implementation of section  8(b) to be a proper defendant under the doctrine  of Ex parte Young, 209 U.S. 123 (1908). The  district court rejected this argument, but  nevertheless dismissed the suit against him  because plaintiff Sierakowski had not alleged an  "ongoing or threatened violation of federal law"  or "that he is likely to be tested again for AIDS  without consent." This failure, the court held,  required dismissal on both Eleventh Amendment and  standing grounds.
    
    
      10
      Sierakowski filed a Rule 59(e) motion to alter  or amend the judgment by granting him leave to  file a proposed amended complaint, which added  certain allegations against Lumpkin. The court  denied the motion, holding that the allegations  of the proposed amended complaint did not cure  the defects of the original complaint.
    
    Discussion
    
      11
      Article III standing requires that a plaintiff  demonstrate three elements: (1) an "injury in  fact"--an invasion of a legally recognized  interest which is concrete and particularized,  actual or imminent, and not conjectural or  hypothetical; (2) a causal link between that  injury and the defendant's action, such that the  injury is fairly traceable to the action  complained of; and (3) that a favorable decision  will likely redress the injury. See Friends of  the Earth, Inc. v. Laidlaw Environmental Servs.,  Inc., 120 S.Ct. 693, 704 (2000); Wisconsin v.  FERC, 192 F.3d 642, 646 (7th Cir. 1999). The  district court held, among other things, that  Sierakowski did not satisfy the injury-in-fact  requirement because, even under the allegations  laid out in his proposed amended complaint, his  alleged injuries were too abstract and  conjectural to give him standing to seek  injunctive and declaratory relief. We agree with  the district court's conclusion on this issue.
    
    
      12
      Although we recognize that there are  circumstances where the probability rather than  certainty of future injury may support standing  to challenge the constitutionality of a policy,  see, e.g., Pennell v. City of San Jose, 485 U.S.  1 (1988) (holding that landlords had standing to  challenge an ordinance's constitutionality where  there was both a likelihood of enforcement and a  concomitant probability that the landlords' rent  would be reduced), the Supreme Court has made  clear that in order to invoke Article III  jurisdiction a plaintiff in search of prospective  equitable relief must show a significant  likelihood and immediacy of sustaining some  direct injury. See Adarand Constructors, Inc. v.  Pena, 515 U.S. 200, 210-11 (1995); City of Los  Angeles v. Lyons, 461 U.S. 95 (1983); see also  Stewart v. McGinnis, 5 F.3d 1031, 1038-39 (7th  Cir. 1993). In Lyons, the Supreme Court  considered a civil rights action against the City  of Los Angeles and several police officers, in  which it was alleged that the officers had  stopped the plaintiff for a routine traffic  violation and then applied a chokehold without  provocation. Among other things, the plaintiff  sought an injunction against further use of the  chokehold by police unless the suspect threatened  deadly force. The Supreme Court held that Lyons  lacked standing to seek injunctive relief because  he could not show a real or immediate threat of  future harm:
    
    
      13
      That Lyons may have been illegally choked by the  police on October 6, 1976, while presumably  affording Lyons standing to claim damages against  the individual officers and perhaps against the  City, does nothing to establish a real and  immediate threat that he would again be stopped  for a traffic violation, or for any other  offense, by an officer or officers who would  illegally choke him into unconsciousness without  any provocation or resistance on his part. The  additional allegation in the complaint that the  police in Los Angeles routinely apply chokeholds  in situations where they are not threatened by  the use of deadly force falls far short of the  allegations that would be necessary to establish  a case or controversy between these parties.
    
    
      14
      461 U.S. at 104.
    
    
      15
      In holding that Lyons lacked standing to seek  injunctive relief, the Supreme Court relied on  its prior decision in O'Shea v. Littleton, 414  U.S. 488 (1974), where a class of plaintiffs  accused a magistrate and judge of discriminatory  sentencing and sought to enjoin the  constitutionally proscribed conduct. The O'Shea  Court ordered the case dismissed because,  although it was claimed that particular class  members had actually suffered from the alleged  unconstitutional practices, there was no real and  immediate threat that they would again be  subjected to the improper sentencing procedures.  See id. at 495-96. "Past exposure to illegal  conduct," the Court explained, "does not in  itself show a present case or controversy  regarding injunctive relief . . . ." Id. at 495;  see also Park v. Forest Service of the United  States, 205 F.3d 1034 (8th Cir. 2000) (holding  that association members lacked standing to sue  the Forest Service for injunctive relief, because  although the association alleged that the Service  employed an unconstitutional automobile  checkpoint targeted against the association, the  association did not demonstrate a real and  immediate threat that it would again be subjected  to such a checkpoint); Fair Employment Council of  Greater Washington, Inc. v. BMC Marketing Corp.,  28 F.3d 1268 (D.C. Cir. 1994) (holding that black  fair employment testers, who posed as job  applicants and were denied referrals by the  defendant employment agency, lacked standing to  seek injunctive relief absent sufficient  allegations that their rights would be violated  by the agency in the future); Facio v. Jones, 929  F.2d 541 (10th Cir. 1991) (holding that a default  judgment debtor lacked standing to challenge  state procedural rules through a sec. 1983 suit  for declaratory or injunctive relief absent  showing a good chance of being subjected to those  procedures in the future).
    
    
      16
      This Court has recently relied upon the  reasoning in Lyons and O'Shea in holding that  claims for injunctive relief resembling  Sierakowski's fail to satisfy standing  requirements. In Knox v. McGinnis, 998 F.2d 1405  (7th Cir. 1993), we held that a prisoner lacked  standing to seek an injunction against future use  of a particular restraining device on segregation  prisoners. The prisoner, who had previously been  subjected to the "black box" restraining device,  brought a section 1983 action against state  corrections officials alleging that use of the  device violated the Eighth Amendment. We  concluded that Lyons and O'Shea were controlling:
    
    
      17
      Like the plaintiffs in those cases, Knox cannot  establish a real and immediate threat that he  again will be subject to use of the black box.  Although Stateville uses the black box on all  segregation prisoners, the mere possibility that  Knox may sometime in the future be returned to  the segregation unit does not establish a real  and immediate case or controversy.
    
    
      18
      Id. at 1413.
    
    
      19
      Similarly, in Robinson v. City of Chicago, 868  F.2d 959 (7th Cir. 1989), we held that arrestees  lacked standing to seek declaratory relief  challenging a city police department's  investigatory detention policy. Because it was  not reasonably likely that the former arrestees  would be arrested again, they could not establish  a real threat of future injury sufficient to seek  such prospective relief:
    
    
      20
      [A]s with the Lyons plaintiff, neither Richardson  nor the Doulin plaintiffs can allege that it is  reasonably likely that they will again encounter  the police. Because the various plaintiffs'  future conduct presumably will give the police no  probable cause to arrest them, they cannot expect  that they will encounter the police or, if they  did, that the police would again detain them  pending investigation or fingerprint clearance.  Thus, even if the police were to continue to  detain others for investigation, . . . the  possibility that Richardson would suffer any  injury as a result of that practice is too  speculative.
    
    
      21
      Id. at 966 (citations omitted).
    
    
      22
      Like the plaintiffs in these cases,  Sierakowski's prospects of future injury are  purely speculative, and Sierakowski therefore  lacks the requisite personal stake in the outcome  of this litigation to establish standing to seek  injunctive relief. Cf. Lyons, 461 U.S. at 111  ("Absent a sufficient likelihood that he will be  wronged in a similar way, Lyons is no more  entitled to an injunction than any other citizen  of Los Angeles; and a federal court may not  entertain a claim by any or all citizens who no  more than assert that certain practices of law  enforcement officers are unconstitutional."); see  also Stewart, 5 F.3d at 1038-39. Sierakowski's  proposed amended complaint alleges that he was  tested previously for HIV without his consent and  that proper health care requires that he visit a  physician every three months for blood tests.  Taken together, these allegations still do not  establish that he would likely be tested again  for HIV without his consent. By its very terms,  the challenged statute authorizes unconsented  testing based on "the judgment of the physician"  as to whether "such testing is medically  indicated to provide appropriate diagnosis and  treatment to the subject of the test." 410 ILCS  305/8(b). There is no policy mandating testing,  but instead section 8(b) leaves that decision in  the hands of individual physicians, to be made on  a case-by-case basis. The record provides no  reason to believe that the conditions spelled out  in the statute are likely to be present in  Sierakowski's future visits, and the fact that  Sierakowski must visit a physician more often  than most people is not probative of whether that  physician will deem HIV testing medically  indicated. Sierakowski thus finds himself in the  same position as the plaintiff in Lyons.
    
    
      23
      To be sure, past wrongs, while not sufficient  to confer standing for injunctive relief, may be  evidence that future violations are likely to  occur. See Lyons, 461 U.S. at 102; O'Shea, 414  U.S. at 496. But in this case the allegations  regarding past conduct still leave us with bare  speculation about what testing Sierakowski's  doctors will later decide to conduct. Perhaps  that Sierakowski was tested previously for HIV  suggests that doctors will likely judge it useful  to test him again. Or, then again, perhaps that  his previous test came out negative makes it  unlikely. There is nothing in the proposed  amended complaint or the record below to suggest  that future injury is likely and that Sierakowski  faces an immediate threat of harm. Accordingly,  the district court properly dismissed this suit  and denied the post-judgment motion seeking  permission to file an amended complaint.2
    
    Conclusion
    
      24
      For the reasons stated herein, we AFFIRM the  decision of the district court.
    
    
      
        Notes:
      
      
        1
         Sierakowski also originally named Illinois  Attorney General James E. Ryan as a defendant in  his official capacity, but he does not appeal the  dismissal of defendant Ryan from the suit.
      
      
        2
         Because we conclude that Sierakowski lacks  standing to seek injunctive and declaratory  relief, we decline to reach the issue of whether  the Eleventh Amendment bars this suit.
      
    
    